Filing #Case 2:24-cv-06635-JXN-LDW Document 86-2
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        IN THE COUNTY COURT OF THE ELEVENTH JUDICIAL
        CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        CASE NO: 2023-137620-CC-23
        SECTION: CL02
        JUDGE: Gordon Murray

        BA ENTERPRISE LLC
        Plaintiff(s) / Petitioner(s)
        vs.

        Steven Rozenfeld et al
        Defendant(s) / Respondent(s)
        ____________________________/
                ORDER ON PLAINTIFF’S MOTION TO COMPEL RESPONSES TO PENDING
                    DISCOVERY & FOR SANCTIONS DOCKET INDEX NUMBER: 30

               THIS CAUSE, having come before the Court on May 9, 2024 on Plaintiff’s Motion to to Compel
        Responses to Pending Discovery and the Court being fully advised in the premises, having heard argument of
        counsel, it is ORDERED AND ADJUDGED as follows:

              1. Plaintiff’s Motion is GRANTED.
              2. Defendant Passive Scaling, Inc. shall file its responses to the First Request for Production within 15 days;
                 to wit, Friday, May 24, 2024.

        DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 9th day of May,
        2024.




                                                                  2023-137620-CC-23 05-09-2024 10:13 AM
                                                                    Hon. Gordon Murray
                                                                     COUNTY COURT JUDGE
                                                                     Electronically Signed




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 SALDUTTI LAW GROUP
 Robert L. Saldutti, Esquire – 006871992
 Thomas B. O’Connell, Esquire - 031102008
 1040 N. Kings Highway, Suite 100
 Cherry Hill, NJ 08034
 (856) 779-0300
 Attorneys for Plaintiff/47881
 MATHEW GENES,                            SUPERIOR COURT OF NEW JERSEY
                                          LAW DIVISION
                Plaintiff,                CAMDEN COUNTY

 v.                                             DOCKET NO.

 PASSIVE SCALING INC                                    Civil Action

                  Defendant.                            VERIFIED COMPLAINT


           Plaintiff, Mathew Genes, by way of Verified Complaint against Passive Scaling, Inc., says:

                                            BACKGROUND

           1.     At all times relevant to this Verified Complaint, Matthew Genes (“Plaintiff”) was an

 adult individual.

           2.     Upon information and belief, at all times relevant to this Verified Complaint,

 Passive Scaling, Inc. (“Defendant”) was a corporation registered to do business in the State of New

 Jersey.

           3.     Plaintiff and Defendant participated in Commercial Arbitration under case and

 caption Matthew Genes v. Passive Scaling, Inc., Case No. 01-23-000-6460, with the American

 Arbitration Association (“the Arbitration”).

           4.     At the conclusion of the Arbitration, an Arbitration Award in the amount of

 $200,899.66 was entered in favor of Plaintiff and against Defendant on January 5, 2024. A true and

 correct copy of the Arbitration Award is attached as Exhibit A.




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         5.       The Arbitrator sent notice of the Arbitration Award to Defendant’s counsel in the

 Arbitration. A true and correct copy of the Arbitrator’s notice of the award sent to Defendant is

 attached as Exhibit B.

         6.       Prior to filing this Complaint, Plaintiff sent notice to Defendant of the Arbitration

 Award. A true and correct copy of Plaintiff’s notice of the Arbitration Award to Defendant is

 attached as Exhibit C.

                                              COUNT ONE

                  CONFIRMATION OF ARBITRATION AWARD AS JUDGMENT
                            PURSUANT TO N.J.S.A. 2A:23B-22

         7.       Plaintiff hereby incorporates each of the allegations of the preceding paragraphs as if

 set forth herein at length.

         8.       Pursuant to N.J.S.A. 2A:23B-22, Plaintiff is entitled to confirm the Arbitration

 Award as a Judgment.

         WHEREFORE, Plaintiff demands judgment against Defendant, Passive Scaling Inc., in the

 amount of $200,899.66 plus court costs, attorney’s fees, and any other relief the Court deems just

 and equitable.

                                                 SALDUTTI LAW GROUP

                                                 /s/ Thomas B. O’Connell
                                                 _____________________________
                                                 THOMAS B. O’CONNELL, ESQ.
 Dated: February 13, 2024




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                                          CERTIFICATION

         Pursuant to R. 4:5-1 this controversy is not the subject of any other action pending in any court

 or any pending arbitration proceeding and no other action or arbitration proceedings are contemplated at

 this time.

         The following parties should be joined in the action: None.

         I hereby certify that the foregoing statements made by me are true. I am aware that if any of

 the foregoing statements made by me are willfully false, I am subject to punishment.

                           CERTIFICATION PURSUANT TO (R.1:38-7)

         I hereby certify that confidential personal identifiers have been redacted from documents

 now submitted to the court, and will be redacted from all documents submitted in the future in

 accordance with Rule 1:38-7(b).

                                                SALDUTTI LAW GROUP

                                                /s/ Thomas B. O’Connell
                                                _____________________________
                                                THOMAS B. O’CONNELL, ESQ.
 Dated: February 13, 2024




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January 10, 2024

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Murtha Cullina LLP
33 Arch Street
12th Floor
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Via Email to: jradke@murthalaw.com

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Usher Law Group P.C.
1022 Avenue P
2nd Floor
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Via Email to: musheresq@gmail.com
Via US and Certified Mail, Tracking #9489 0090 0027 6508 7639 62

Case Number: 01-23-0000-6460

Mathew Genes
-vs-
Passive Scaling, Inc.

Dear Parties:

The American Arbitration Association (the AAA) hereby transmits the enclosed duly executed award in the
above-referenced matter. Please direct all further communication to the AAA. The parties will have no further
direct communication with the arbitrator.

The AAA has conducted a financial reconciliation, and each party will receive a separate accounting for this
matter based on that reconciliation. Any party with an outstanding balance will receive monthly invoices until the
balance is paid in full.

Any outstanding balances the parties may owe the AAA for the administrative fees or arbitrator compensation and
expenses incurred during the case remain due and payable to the AAA even after the award is issued, regardless
of whether the award apportioned these costs between the parties.

The AAA will process any refund due to a party as soon as possible. To ensure the accurate transmission of any
refund, please confirm to whom the refund check should be addressed and notify the case administrator prior to
January 17, 2024. If confirmation is not timely received, by default the refund will be disbursed to the billing
representative listed for the party¶s account.

3OHDVHQRWHWKDWWKH$$$:HE)LOH ECF Guidelines will not apply after closing of the case. Therefore, any
additional submissions from the parties in this matter should be submitted via email to the AAA, with copies sent
to all other parties.

Pursuant to AAA policy, in the normal course of our administration, we may maintain certain electronic case


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documents in our electronic records system. Such electronic documents may not constitute a complete case file.
Other than certain types of documents that the AAA maintains indefinitely in our system, the AAA will destroy
electronic case documents 18 months after the date of this correspondence.

We appreciate the opportunity to assist you in resolving your dispute. As always, please do not hesitate to contact
me if you have any questions.

Sincerely,

//s/ Christine Anlicker on behalf of

Paris N Wilkerson
Manager of ADR Services
'LUHFW'LDO  
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                                                                       Thomas B. O’Connell, Esquire
                                                                                Direct: 856-437-4015
                                                                     email: toconnell@slgcollect.com

                                         February 6, 2024

  VIA REGULAR AND CERTIFIED MAIL

  Passive Scaling, Inc.
  c/o Bratislav Rozenfeld, Registered Agent
  757A Undercliff Ave.
  Edgewater, NJ 07020

  RE:     Matthew Genes v. Passive Scaling, Inc.
          Notice of Arbitration Award pursuant to N.J.S.A. 2A:23B-22
          Our File No. 47881

  Dear Mr. Rozenfeld:

         Enclosed, please find a copy of the Arbitrator’s Award Mathew Genes v. Passive Scaling,
  Inc., American Arbitration Association Case No. 01-23-0000-6460.

         Please note that the Arbitrator previously provided a copy of the Arbitrator’s Award was
  previously to your counsel in that matter, who are copied here.


                                              Very truly yours,
                                              SALDUTTI LAW GROUP

                                              /s/ Thomas B. O’Connell
                                              _________________________________
                                              THOMAS B. O’CONNELL, ESQUIRE

  TBO/

  cc:     Mikhail Usher, Esq., via email: musheresq@gmail.com
          Alex@usherlegal.com




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                      Exhibit “C”
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